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              7 ROYAL BANK OF CANADA, RBC CAPITAL MARKETS
                CORPORATION (incorrectly named and sued as “RBC WEALTH
              8 MANAGEMENT COMPANY, formerly RBC DAIN RAUSCHER,
                INC.”), THE ROYAL BANK OF CANADA US WEALTH
              9 ACCUMULATION PLAN
             10
             11                     UNITED STATES DISTRICT COURT
             12                    CENTRAL DISTRICT OF CALIFORNIA
             13
                  STEVEN BENHAYON,                          Case No. CV08-06090 FMC (AGRx)
             14
                                  Plaintiff,                DEFENDANTS’ NOTICE OF
             15                                             RELATED CASES PURSUANT TO
                       v.                                   LOCAL RULES 83-1.3
             16
                  ROYAL BANK OF CANADA, a                  Action Filed: September 17, 2008
             17   Canadian company, business form          Trial Date:   None Set
                  unknown; RBC WEALTH
             18   MANAGEMENT COMPANY, formerly
                  RBC DAIN RAUSCHER, INC.,
             19   business form unknown; THE ROYAL
                  BANK OF CANADA US WEALTH
             20   ACCUMULATION PLAN, formerly
                  known as RBC Dain Rauscher Wealth
             21   Accumulation Plan; and, DOES 1
                  through 20,
             22
                                  Defendants.
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             28
                                                                     CASE NO. CV08-06090 FMC (AGRx)
6896253_1                              DEFENDANTS’ NOTICE OF RELATED CASES
            Case 2:08-cv-06090-FMC-AGR Document 12 Filed 01/13/09 Page 2 of 2 Page ID #:89




              1 TO THE CLERK OF THE UNITED STATES DISTRICT COURT:
              2         Pursuant to Local Rule 83-1.3 of this Court, the undersigned, counsel of
              3 record for defendants Royal Bank of Canada, RBC Capital Markets Corporation
              4 (incorrectly named and sued as “RBC WEALTH MANAGEMENT COMPANY,
              5 formerly RBC DAIN RAUSCHER, INC.”), and the Royal Bank of Canada U.S.
              6 Wealth Accumulation Plan, (“Defendants”), certifies that Defendants are not aware
              7 of any case that arises from the same events as the instant action, involve the same or
              8 substantially related or similar or closely related transactions, happening or issues of
              9 fact and law, or are likely to require substantial duplication of labor if heard by
             10 different judges.
             11
             12 DATED: January 13, 2009                     OGLETREE, DEAKINS, NASH, SMOAK
                                                            & STEWART, P.C.
             13
             14
             15                                             By:        /s/ Christopher Decker
             16                                                        Christopher W. Decker
                                                            Attorneys for Defendants
             17                                             ROYAL BANK OF CANADA, RBC
             18                                             CAPITAL MARKETS CORPORATION
                                                            (incorrectly named and sued as “RBC
             19                                             WEALTH MANAGEMENT COMPANY,
             20                                             formerly RBC DAIN RAUSCHER,
                                                            INC.”), and THE ROYAL BANK OF
             21                                             CANADA US WEALTH
             22                                             ACCUMULATION PLAN

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                                                           1            CASE NO. CV08-06090 FMC (AGRx)
6896253_1                                 DEFENDANTS’ NOTICE OF RELATED CASES
